Case 1:25-cv-O076G@JEB  Document123-4 Filed 05/11/25 Page 1of8

OLD Reseach MK
@ LexisNexis

BlackRock Series Fund, Inc.; Form N-PX, Part 2 of 2

August 22, 2007

Company Information

Address: WILMINGTON, DE, 19809

CIK: 319108

Filing Data

Report Period: June 30, 2007

SEC File Number: 811-03091

Accession Number: 0000900092-07-000358

Text

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
Washington, D.C, 20549
FORM N-PX
ANNUAL REPORT OF PROXY VOTING RECORD OF REGISTERED
MANAGEMENT INVESTMENT COMPANY
Investment Company Act File Number 811-03091
Name of Fund: BlackRock Series Fund, Inc.
BlackRock Balanced Capital Portfolio
BlackRock Fundamental Growth Portfolio
BlackRock Global Allocation Portfolio
BlackRock High Income Portfolio
BlackRock Large Cap Core Portfolio
BlackRock Global SmallCap Portfolio
BlackRock Equity Dividend Portfolio
BlackRock Mid Cap Value Opportunities Portfolio
BlackRock Small Cap Index Portfolio

Meg Kelly
Case 1:25-cv-00766-JEB

Document 123-4 Filed 05/11/25

BlackRock Series Fund, Inc.; Form N-PX, Part 2 of 2

# Proposal Mgt Rec Vote Cast Sponsor

1 Elect Director Thomas W. Adams For For Management

2 Elect Director Peter D. Kinnear For For Management

3 Ratify Auditors For For Management

TRONOX, INC

Ticker: TRX Security ID: 897051207

Meeting Date: MAY 8, 2007 Meeting Type: Annual

Record Date: MAR 19, 2007

# Proposal Mgt Rec Vote Cast Sponsor

1 Elect Director Thomas W. Adams For For Management

2 Elect Director Peter D. Kinnear For For Management

3 Ratify Auditors For For Management

TRUE RELIGION APPAREL, INC.

Tickers TRLG Security ID: 89784N104

Meeting Date: MAY 16, 2007 Meeting Type: Annual

Record Date: MAR 30, 2007

# Proposal Mgt Rec Vote Cast Sponsor

Seg Elect Director Jeffrey Lubell For For Management

1.2 Elect Director Joseph Coulombe For For Management

13 Elect Director G. Louis Graziadio, III For For Management

1.4 Elect Director Robert L. Harris, II For For Management

1.5 Elect Director Mark S. Maron For For Management

2 Ratify Auditors For For Management

TRUMP ENTERTAINMENT RESORTS INC

Ticker: TRMP Security ID: 89816T103

Meeting Date: MAY 2, 2007 Meeting Type: Annual

Record Date: MAR 9, 2007

# Proposal Mgt Rec Vote Cast Sponsor

1.1 Elect Director Morton E. Handel For For Management

L ZLect..birector James B. Perry “EOE EOL Management.
Ls lest Director Donald J. Trump For FOL anagenent 7)
I Ratify Auditors POT “For Managem

TRUSTCO BANK CORP NY

Ticker: TRST Security ID: 898349105

Meeting Date: MAY 14, 2007 Meeting Type: Annual

Record Date: MAR 22, 2007

# Proposal Mgt Rec Vote Cast Sponsor

Lid Elect Director Joseph A. Lucarelli For For Management

dee Elect Director Robert A. McCormick For For Management

2 Ratify Auditors For For Management

TRUSTMARK CORP.

Ticker: TRMK Security ID: 898402102

Meeting Date: MAY 8, 2007 Meeting Type: Annual

Record Date: MAR 12, 2007

# Proposal Mgt Rec Vote Cast Sponsor

Led Elect Director J. Kelly Allgood Por For Management

da Z Elect Director Reuben V. Anderson For For Management

1.3 Elect Director Adolphus B. Baker For For Management

1.4 Elect Director William C. Deviney, Jr. For For Management

1.5 Elect Director C. Gerald Garnett For For Management

1.6 Elect Director Daniel A. Grafton For For Management

ded Blect Director Richard G. Hickson For For Management

1.8 Elect Director John M. McCullouch For For Management

1:9 Elect Director Richard H. Puckett For For Management

1.10 Elect Director R. Michael Summerford For For Management

1.11 Elect Director Kenneth W. Williams For For Management

1.12 Elect Director William G. Yates, Jr. For For Management

Meg Kelly

Page 2 of 8

Page 1054 of 1108
Case 1:25-cv-00766-JEB Document123-4 Filed 05/11/25 Page 3of8

OLD Row
LexisNexis N\ ea owe

mesulis for: Donald Trump

Company and Financial

1. BLACKROCK MUNIYIELD NEW JERSEY FUND, INC.

Form DEFR14AFeb 09, 2018

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ..

.. yields move in opposite directions.) The weakness accelerated in Navember once Donald Trumps
election victory caused investors to factor in the possibility of faster ..

.. yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...
... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...
.. 12 months. Municipal bonds moved lower early in the period once Donald Trumps election victory
caused investors to factor in the possibility of faster ...
... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...
... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

2. BLACKROCK MUNIVYIELD NEW JERSEY FUND, INC.

Form DEF 14AFeb 09, 2018

.. 12 months. Municipal bonds moved lower early in the period once Donald Trumps election victory
caused investors to factor in the possibility of faster ...
... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

3. QUANTITATIVE MASTER SERIES LLC

Form N-PXAug 21, 2007

QUANTITATIVE MASTER SERIES LLC

Form N-PXAug 21 , 2007

x i .. Elect Director James B. Perry For For Management 1.3 Elect Direbtor Donald J. Trump

i™ For Management 2 Ratify Auditors For For Management...
... Elect Director James B. Perry For For Management 1.3 Elect Direbtor Donald J. Trump For
For Management2 Ratify Auditors For Fo Management...

Meg Kelly
Case 1:25-cv-00766-JEB. Document123-4 Filed 05/11/25 Page 4of8

a

@ LexisNexis

Results for: Donald Trump

Company and Financial

1. BLACKROCK MUNIYIELD NEW JERSEY FUND. INC.

Form DEFR14AFeb 09, 2018

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... 12 months. Municipal bonds moved lower early in the period once Donald Trumps election victory
caused investors to factor inthe possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move.in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

2, BLACKROCK MUNIYIELD NEW JERSEY FUND. INC.

Form DEF 14AFeb 09, 2018

... 12 months. Municipal bonds moved lower early in the period once Donald Trumps election victory
caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused investors to factor in the possibility of faster ...

... yields move in opposite directions.) The weakness accelerated in November once Donald Trumps
election victory caused*investors to factor in the possibility of faster ...

3. QUANTITATIVE MASTER SERIES LLC

Form N-PXAug 21, 2007

4. QUANTITATIVE MASTER SERIES LLC

Form N-PXAug 21, 2007

... Elect Director James B. Perry For For Management 1.3 Elect Director Donald J. Trump For
For Management 2 Ratify Auditors For For Management...
... Elect Director James B. Perry For For Management 1.3 Elect Director Donald J. Trump For
For Management 2 Ratify Auditors For For Management...

Meg Kelly
Case 1:25-cv-00766-JEB Document123-4 Filed 05/11/25 Page 5of8

WILMINGTON FUNDS

Form N-CSRJul 07, 2017

... the fourth quarter of 2016 in response to the election of Donald Trump , a republican congress and the
expectation for tax reform and ...

... the 4th quarter of 2016 in response to the election of Donald Trump , a republican congress and the
expectation for tax reform and ...

... the fourth quarter of 2016 in response to the election of Donald Trump , a republican congress and the
expectation for tax reform and ...

... the 4th quarter of 2016 in response to the election of Donald Trump , a republican congress and the
expectation for tax reform and ...

WT MUTUAL FUND

Form N-PXAug 30, 2007

... Elect Director James B. Perry For For Management 1.3 Elect Director Donald J. Trump For
For Management 2 Ratify Auditors For For Management...

WTMUTUAL FUND

Form N-PXAug 30, 2007

... Elect Director James B. Perry For For Management 1.3 Elect Director Donald J. Trump For
For Management 2 Ratify Auditors For For Management...

BLACKROCK MARYLAND MUNICIPAL BOND TRUST

Form N-CSRSMay 03, 2017

... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite diréctions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...
... yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...

BLACKROCK MASSACHUSETTS TAX-EXEMPT TRUST

Form N-CSRSMay 03, 2017

.. yields move in opposite directions.) The downturn accelerated in November once Donald Trumps
election victory caused investors to adjust their expectations in favor of ...

Meg Kelly Page 2 of 45
Case 1:25-cv-00766-JEB Document123-4 Filed 05/11/25 Page 6of8

QUANTITATIVE MASTER SERIES LLC; Form N-PX, Part 1 of 2

August 21, 2007

Company Information

Address: WILMINGTON, DE, 19809

CIK: 1025836

Filing Data

Report Period: June 30, 2007

SEC File Number: 81 1-07885

Accession Number: 0000900092-07-000341

Text

SEC EDGAR Filings, Combined

End of Document

Meg Kelly
Case 1:25-cv-00766-JEB Document 123-4

@ LexisNexis’

Filed 05/11/25

Page 7 of 8

SOFO REALTY CORP; Experian Commercial Credit Scores

August 14, 2019

SOFO REALTY CORP

299 S STATE ST

DOVER, Delaware 19901-6727
UNITED STATES

Metropolitan Statistical Area: 2190-DOVER DE
County: KENT

Other Locations:

ADDRESS TYPE: Street Address

LOCATION: Single Entity

LATITUDE: 39.157243 North

LONGITUDE: 75.524113 West

Content/Coverage Date: © ESTABLISH DATE (in Experian Database):

Company Identifiers

September 30, 1991

EXPERIAN BUSINESS ID: 715504138

Company Information

Employees:
Legal Status: Corporation
EXECUTIVE COUNT: 1

Meg Kelly
Case 1:25-cv-00766-JEB Document123-4 Filed 05/11/25 Page 8of8

SOFO REALTY CORP; Experian Commercial Credit Scores

YEARS IN BUSINESS: Over 10 Years
YEAR BUSINESS STARTED: 1991

Experian Powered Business Reports

Executives

DONALDITRUMP, PRES

Description

Industry Type: Financial / Insurance / Real Estate

Market And Industry

NAICS Codes:

531210 - Offices of Real Estate Agents and Brokers
SIC Codes:

6531 - Real-estate agents and managers

65310000 - Real Estate Agents and Managers

Business Analysis

MOST RECENT UPDATE: 0 - 3 Months

eee eee * * * COMMERCIAL CREDIT RATING MODEL * * * * * * # # * *
Business Delinquency Risk - The propensity for a business to fall 90+ days past its payment terms in the coming 12 months

Score Range
Delinquency Risk

76-100
Low

51-75
Low-Medium

Meg Kelly Page 2 of 6

